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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------------X
Actava TV, Inc., Master Call Communications, Inc.,                     )
Master Call Corporation, and Rouslan Tsoutiev,                         )   18-CV-06626 (ALC)(KNF)
                                                                       )
                           Plaintiffs,                                 )
                  v.                                                   )
Joint Stock Company “Channel One Russia Worldwide,” )
Closed Joint Stock Company “CTC Network,” Closed                       )   PROPOSED AMENDED
Joint Stock Company “New Channel”, Limited Liability )                     SCHEDULING
Company “Rain TV-Channel,” Closed Joint Stock                          )   ORDER NO. 9
Company “TV DARIAL,” Limited Liability                                 )
Company “Comedy TV,” and Kartina Digital GmbH                          )
                                                                       )
                           Defendants.                                 )
-----------------------------------------------------------------------X

        Counsel for Defendants Limited Liability Company “Rain TV-Channel” (“Rain”) and

Kartina Digital GmbH (“Kartina”) submit this [proposed] amended case management plan and

scheduling order, which the intention of its superseding the Amended Scheduling Order No. 8

(ECF No. 212) entered by the Court on November 6, 2020:

        1.       This case is to be tried to a jury.

        2.       Initial disclosures pursuant to Fed. R. Civ. P. 26(a)(1) were exchanged on

February 22, 2019 by Plaintiffs, and on March 6, 2019 by Defendants. Plaintiffs provided

Defendants supplementary disclosures pursuant to Fed. R. Civ. P. 26(a)(2) and 26(e) on

September 9, 2020.

        3.       No additional parties may be joined except with leave of the Court.

        4.       Amended pleadings may not be filed except with leave of the Court.

        5.       All fact discovery shall be completed on or before February 11, 2021.




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        6.     Plaintiffs served initial requests for production of documents and interrogatories

on November 1, 2018; and Defendants served initial requests for production of documents and

interrogatories on January 18, 2019.

        7.     The parties are to conduct discovery in accordance with the Federal Rules of Civil

Procedure and the Local Rules of the Southern District of New York. The following interim

deadlines may be extended by the parties on consent without application to the Court, provided

that the parties meet the deadline for completing fact discovery set forth in Paragraph 5 above.

               a.          Fact depositions shall be completed by February 11, 2021 via audio-

video conferences.

                      i.    There is no priority in deposition by reason of a party’s status as a

                            plaintiff or a defendant.

                     ii.    Absent an agreement between the parties or an order from the Court,

                            non-party depositions shall follow initial party depositions.


               b.          Requests to Admit shall be served no later than February 25, 2021.

               c.          The designation of Plaintiff’s expert(s) was completed on September 9,

2020; the designation of the Defendant’s rebuttal expert(s) was completed on November 11,

2020.

               d.          The Initial Report(s) of Plaintiffs’ expert(s) shall be exchanged by

February 8, 2021, followed by the Defendants’ expert(s)’ rebuttal report(s) by March 1, 2021,

and Plaintiffs’ expert’s reply report, if any, by March 15, 2021.

               e.          Expert depositions shall be completed by March 19, 2021 via audio-video

conferences.

               f.          All discovery shall be completed by March 19, 2021.

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       8.     This Court will conduct a telephonic status conference on January 13, 2021, at

11:00 a.m., via dial-in number (888) 557-8511 and access code 4862532.


New York, New York
Dated: December ____, 2020

So Ordered


__________________________
U.S. Magistrate Judge
Kevin Nathaniel Fox




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